         Case 8:20-cv-02619-PWG Document 28 Filed 04/09/21 Page 1 of 2


                             BREDHOFF & KAISER, P.L.L.C.
Bruce R. Lerner                       Attorneys & Counselors                             Adam Bellotti
Andrew D. Roth                                                                         Joshua A. Segal
Roger Pollak                   805 Fifteenth Street NW – Suite 1000            Elisabeth Oppenheimer
Anne Ronnel Mayerson                 Washington, D.C. 20005                           April H. Pullium
Leon Dayan                              (202) 842-2600 TEL                         Joshua A. Rosenthal
Devki K. Virk                           (202) 842-1888 FAX                             Dana M. Krohn
Robert Alexander                        www.bredhoff.com                                         ——————
Matthew Clash-Drexler                                                            Richard F. Griffin, Jr.
Abigail V. Carter                                                                       Deva A. Kyle
Kathleen Keller                                                                       Tzvi Mackson*
Joshua B. Shiffrin                                                                                 Of Counsel
                                                                                                 ——————
Jenifer A. Cromwell                        Elliot Bredhoff
                                                                                  Robert M. Weinberg
Ramya Ravindran                              (1921 – 2004)
                                           Henry Kaiser                             Julia Penny Clark
Jacob Karabell
                                              (1911 - 1989)                       Jeremiah A. Collins
Caitlin Kekacs
                                                                                         Mady Gilson
                                                                                        John M. West
                                                                                               Senior Counsel

                                                                                   *Licensed in New York Only



                                           April 9, 2021

Via ECF Only

The Honorable Paul W. Grimm
United States District Court for the District of Maryland
6500 Cherrywood Lane, Suite 465A
Greenbelt, MD 20770


       RE:     Trustees of the Bakery and Confectionery Union and Industry International
               Pension Fund v. Brown’s Bun Baking Company, et al., Civil Case No. PWG-20-
               2619

Dear Judge Grimm:

        I write on behalf of counsel for the parties in this case to request a sixty-day stay of the
deadlines the above-captioned matter. This request stems from the parties’ April 8, 2021
settlement conference conducted under the auspices of Magistrate Judge Timothy J. Sullivan. The
parties and Judge Sullivan believe that a sixty-day stay of proceedings in the litigation will
maximize the ability of the parties and Judge Sullivan to continue their settlement efforts in a
productive fashion.

        Accordingly, the parties request that the Court stay proceedings in the case until Tuesday,
June 8, and vacate the existing case deadlines until further order of the Court. The parties also ask
the Court to schedule a status conference on or after June 1, 2021 to establish new case deadlines
the Court and the parties determine to be necessary to complete further litigation.
         Case 8:20-cv-02619-PWG Document 28 Filed 04/09/21 Page 2 of 2


Hon. Paul W. Grimm
Page Two

      Counsel for Defendants has authorized me to represent that Defendants concur in this letter.
Thank you for your consideration in this matter.


                                                            Respectfully submitted,

                                                            /s/ Robert Alexander

                                                            Robert Alexander
                                                            Counsel for Plaintiff


cc:    Counsel of Record (Via ECF)
       Magistrate Judge Timothy J. Sullivan (Via ECF and e-mail)
